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      1   C. EMMETT MAHLE, SB#121931
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      2   Sacramento, CA 95814
          (916) 447-1646
      3
          Attorney for Defendant
      4   CRAIG W. ANDERSON
      5

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      8                                IN THE UNITED STATES DISTRICT COURT
      9                         IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
     10

     11   UNITED STATES OF AMERICA,                             Case No.: Cr. 09-0230-JAM
     12                   Plaintiff,                            WAIVER OF DEFENDANT’S APPEARANCE.
     13           vs.
     14   CRAIG W. ANDERSON,
     15                   Defendant
     16

     17

     18           Defendant CRAIG W. ANDERSON hereby waives his right to be present in open court upon the
     19   hearing of any motion or other proceeding in this cause, including, but not limited to, when the case is
     20   ordered set for trial, when a continuance is ordered, and when any other action is taken by the court
     21   before or after trial, except upon arraignment, plea, empanelment of jury and imposition of sentence.
     22   Defendant hereby requests the court to proceed during each and every absence of his which the court may
     23   permit pursuant to this waiver; agrees that his interest will be deemed represented at all times by the
     24   presence of his attorney, the same as if the defendant were personally present; and further agrees to be
     25   present in court ready for trial any day and hour the court may fix in his absence. Defendant is a full-time
     26   employee of the U.S. Postal Service and he and his family reside in the Chicago, Illinois area.
     27   //
     28   //


          WAIVER OF DEFENDANT’S PRESENCE

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      1           Defendant further acknowledges that he has been informed of his rights under Title 18 U.S.C.
      2   Section 3161-3174 (Speedy Trial Act), and has authorized his attorney to set times and delays under the
      3   provisions of that act without the defendant being present.
      4

      5   Dated: June 24, 2009                             _____________/s/____________
                                                           CRAIG W. ANDERSON
      6                                                    Client
      7   Dated: June 24, 2009                             _____________/s/____________
                                                           C. EMMETT MAHLE
      8                                                    Attorney for Craig W. Anderson
      9

     10                                                   ORDER
     11           The Court, having read and considered the “Waiver of Appearance,” and finding good
     12   cause therefore, such waiver is accepted by the Court. IT IS SO ORDERED.
     13

     14   Dated: _June 25, 2009                                     /s/ John A. Mendez___________________
                                                                    JOHN A. MENDEZ
     15                                                             UNITED STATES DISTRICT JUDGE
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          WAIVER OF DEFENDANT’S PRESENCE

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